
191 P.3d 762 (2008)
222 Or. App. 92
STATE of Oregon, Plaintiff-Respondent,
v.
Lekishia Renea WILLIAMS, aka Lekishia R. Williams, aka Lekishia Rene Williams, aka Lekishia Renee Williams, aka Lekishia Wilyams, aka Lekishia Williams, aka Lakeishia Renee Williams, aka Cophia Lorraine Phelps, Defendant-Appellant.
051036267; A131158.
Court of Appeals of Oregon.
Argued and Submitted May 28, 2008.
Decided August 20, 2008.
Anne Fujita Munsey, Senior Deputy Public Defender, argued the cause for appellant. On the opening brief were John L. Susac and Peter Gartlan, Chief Defender, Legal Services Division, Office of Public Defense Services. On the supplemental brief was Anne Fujita Munsey.
Paul L. Smith argued the cause for respondent. On the brief were Hardy Myers, Attorney General, and Mary H. Williams, Solicitor General.
Before BREWER, Chief Judge, and ORTEGA, Judge, and CARSON, Senior Judge.
PER CURIAM.
Affirmed. State v. Maiden, 222 Or.App. 9, 191 P.3d 803 (2008); State v. Willis, 219 Or.App. 268, 182 P.3d 891 (2008).
